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FOR THE wEsTERN DISTRICT oF TENNESSEE
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W.D. OF TN, M|‘:w£PHiS

UNITED S'I'ATES OF AMERICA,
Plaint,iff,

vs. Cr. NO. 98-20293(G)B

XAVIER S. TODD,

Defendant.

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ORDER DENYING REQUEST FOR CLARIFICATION

 

Defendant, Xavier S. Todd, Bureau of Prisons (BO?)
registration number 16647-076, an inmate at the Federal
Correctional lnstitution (FCI) in Memphis, has filed a “request for
clarification of concurrency” in this closed criminal case.

Todd Was arrested on October 21, 1998 by Memphis police
officers on multiple charges, one also giving rise to his federal
prosecution. On December 21, 1998, a federal grand jury indicted
Todd on one count of possession of a firearm after conviction of a
felony, iii violation of '18 U]S.C. § 922(g); and anna count of
possessing a stolen firearm, in violation of 18 U.S.C. § 922(j).
Defendant was arrested by federal marshals while on bond for his
state charges from the October 1998 arrest by Memphis police
officers.

On May 6, 1999, Todd pled guilty in federal court to count one
of the indictment and count two Was dismissed upon motion by the
United States. After a sentencing hearing on July'23, 1999, United

States District Judge Julia Gibbons entered a judgment on July 28,

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1999 imposing a sentence of 120 months to be served consecutively

 

to the state sentence currently being served. United States v.
Todd, No. 98“20293-G. lodd’s sentence was pursuant to United
States Sentencing Guideline (USSG) § 5G1.3(a), “{i]f the instant

offense was committed while the defendant was serving a term or
imprisonment. . . or after sentencing for, but before commencing
service of, such term of imprisonment, the sentence for the instant
offense shall be imposed to run consecutively to the undischarged
term of imprisonment.”l

Todd thereafter entered guilty pleas to state offenses of
theft of property, No. 99~05192; evading arrest, No. 99-05103;
burglary of a building, No. 99~05104; driving while a habitual
motor vehicle offender, No. 99-05105; burglary of a building, No.
99-04986; possessing a handgun after conviction of a felony, No.
99-05107; theft of property over $1000, No. 99-05108; driving while
a habitual motor vehicle offender, No. 99»05109; burglary of a
building, No. 99-05110; and theft of property over $60,000, No. 99-
05111. He was sentenced in state court to an effective sentence of
thirty years. A notation on the judgments reflects that all state
sentences were to be served concurrently with each other and with

the sentence imposed in federal case No. 98-20293.

 

l Todd was mistakenly released from custody by the State of Tennessee

after pleading guilty on July 9, 1998, to charges of driving while a habitual
motor offender and driving while license suspended. Thus, Todd was required to
serve out the state sentence for his convictions for being a habitual motor
offender and driving while his license was suspended before serving his sentence
for this federal conviction.

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Todd first reported to state authorities to complete the prior
state sentence from which he was mistakenly released. He has now
been taken into federal custody to serve his federal sentence.
Todd alleges that because the state court “imposed his [firearm]
sentence to be served concurrent with the federal sentence," it is
his belief that “it was the intention of this Honorable Court to
impose [his] federal sentence to be served. concurrently.” He
requests this clarification “because [he] is havingl a problem
getting credit nunc pro tunc for [hisl pre-trial jail time.”

The commencement and calculation of the term of imprisonment
of a federal prisoner, including any award of creditsr is governed
by 18 U.S.C. § 3585, entitled “Calculation of a term of
imprisonment,” which states as follows:

(a) Commencement of sentence. A sentence to a term of
imprisonment commences on the date the defendant is
received in custody awaiting transportation to, or
arrives voluntarily to commence service of sentence
at, the official detention facility at which the
sentence is to be served.

(b) Credit for prior custody. A defendant shall be
given credit toward the service of a term of
imprisonment for any time he has spent in official
detention prior to the date the sentence

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(1) as a result of the offense for which the
sentence was imposed; or

(2) as a result of any other charge for which the
defendant was arrested after the commission of
the offense for which the sentence was
imposed;

that has not been credited against another
sentence.

18 U.S.C. § 3585.

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This Court cannot grant or compute sentence credits under 18
U.S.C. § 3585(b). That task is reserved for the Attorney General
of the United States through the BOP. United States v. Wilson, 503
U.S. 329, 333-34 (1992); United States v. Cobleigh, 75 F.3d 242,
251 (6th Cir. 1996).

Furthermore, Todd must exhaust his administrative remedies
through the BOP before he may petition the district court to review
any administrative decision denying credit for presentence
detention. A prisoner who wishes to appeal a decision by the BOP
must seek administrative review of the computation or denial of
credits, C.F.R. §§ 542.10-542.16 (1997), and, when he has exhausted
all administrative remedies, he may' then seek judicial relief
pursuant to 28 U.S.§ 2241. §§§ Wilson, 503 U.S. at 335; McClain v.
Bureau of Prisons, 9 F.3d 503, 505 (6th Cir. 1993); United States
v. Dowling, 962 F.Zd 390, 393 (Sth Cir. 1992).2

Thus, exhaustion of administrative remedies within the BOP is
a jurisdictional prerequisite to seeking the district court's
review of the BOP’s sentence credit calculation. Todd does not
allege that he has pursued his administrative remedies with the BOP
as required. Therefore, the Court has no jurisdiction over his
claim for jail credit. Wilson, 503 U.S. at 333; United States v.

Westmoreland, 974 F.Zd 736, 737-38; see also Davis v. Keohane, 835

 

2 Habeas corpus is the remedy for a federal prisoner who is raising

issues that challenge the execution of his sentence. United States v. Jalili, 925
F.Zd 889, 693 (6th Cir. 1991); Wright v. United States Bd. of Parole, 557 F.2d
74, 78 (Gth Cir. 197'7).

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F.2d 1147 (6th Cir. 1987); Little v. Hopkins, 638 F.2d 953 (6th
Cir. 1981).

Todd's motion is DENIED without prejudice to his right to
submit a petition. pursuant to 28 U.S.C. § 2241 once he has
exhausted his administrative remedies.

As no reasonable jurist could disagree that this Court is
without jurisdiction to award jail credit, it is CERTIFIED,
pursuant to Fed. R. App. 24(a) that any appeal in this matter by

defendant would not be taken in good faith.

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iT is so 0RDERED this 29 day 'liB;

. ANIEL BREEN
UNI ED STATES DISTRICT JUDGE

 

 

   

UNITED sTTES DISTRIC COURT - WESERNT D"CITRIT o TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 50 in
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Xavier S. Todd

FCI

16647-076

1101 John A. Denie Rd
1\/1emphis7 TN 38134

Stuart .1. Canale

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/1emphis7 TN 38103

Honorable .1. Breen
US DISTRICT COURT

